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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


                                   )
UNITED STATES OF AMERICA           )
                                   )
                                   )
               v.                  )   CRIMINAL NO. 03-10329-PBS
                                   )
AMANDO MONTEIRO,                   )
VALDIR FERNANDES,                  )
ANGELO BRANDAO,                    )
BRIMA WURIE,                       )
LUIS RODRIGUES,                    )
MANUEL LOPES,                      )
                                   )
                  Defendants.      )
                                   )


                         MEMORANDUM AND ORDER

                            January 6, 2006

Saris, U.S.D.J.

                            I. INTRODUCTION

     Pursuant to Fed. R. Evid. 702, the defendants seek to

exclude expert testimony that cartridge cases found at several

crime scenes match firearms linked to defendants based on

“unique” toolmarks transferred from the firearms to the

ammunition.   Specifically, defendants seek to exclude the

testimony of a firearms examiner from the Massachusetts State

Police who examined cartridge casings found at the scenes of the

shooting of Dinho Fernandes and the attempted shootings of

Alcides DePina and Antonio Diaz.

     Defendants argue: (1) that the standard methodology of

firearms identification is unreliable under Daubert v. Merrell
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Dow, 509 U.S. 579, 113 S.Ct 2786 (1993) and Kumho Tire Co. v.

Carmichael, 526 U.S. 137, 119 S.Ct. 1167 (1997); (2) that even if

the methodology of firearms identification is reliable, the

examiner is not qualified as an expert in the field; (3) that the

examiner did not apply that established methodology adequately;

and (4) that, in any event, with respect to one gun, the FEG FP

9, the use of replacement parts to test fire the weapon rendered

the match to recovered ammunition unreliable.

     At a six-day evidentiary hearing, Special Agent Timothy

Curtis, operations officer for the forensic laboratories at the

Bureau of Alcohol, Tobacco, Firearms and Explosives in Maryland

and former chief of the Firearms Section, and Mary Kate

McGilvray, the quality manager with the Massachusetts State

Police Crime Laboratory, testified for the government.          Witnesses

called by defendants included David J. LaMagna, an engineer with

a Masters in Materials Science; Mary-Jacque Mann, a former

firearms examiner with the National Fish and Wildlife Forensics

Laboratory, who holds a Masters of Forensic Science, and is a

scanning electron microscopist; Catherine Doherty, commander of

the ballistics unit of the Boston Police Department; and Sgt.

Douglas Weddleton, the Massachusetts State Police firearms

examiner whose testimony is being challenged.         The defense also

submitted the affidavit of Adina Schwartz, an Associate Professor

of Law at the John Jay College of Criminal Justice, and the

government submitted the affidavit of FBI Special Agent Philip

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Ball.

     Based on the extensive documentary record replete with

photographs, demonstratives, and journal articles, this Court

holds that the underlying scientific principle behind firearm

identification -- that firearms transfer unique toolmarks to

spent cartridge cases -- is valid under Daubert.            However, the

process of deciding that a cartridge case was fired by a

particular gun is based primarily on a visual inspection of

patterns of toolmarks, and is largely a subjective determination

based on experience and expertise.          Because of the subjective

nature of the matching analysis, a firearms examiner must be

qualified through training, experience, and/or proficiency

testing to provide expert testimony.          Moreover, an examiner must

follow the established standards for intellectual rigor in the

toolmark identification field with respect to documentation of

the reasons for concluding there is a match (including, where

appropriate, diagrams, photographs or written descriptions), and

peer review of the results by another trained examiner in the

laboratory.      These standards ensure the reliability of the

expert’s results and the testability of the opinion.

     If the government meets these standards at trial, the expert

may give an opinion of a match to a reasonable degree of

certainty in the ballistics field.          However, the expert may not

testify that there is a match to an exact statistical certainty.

     The Court concludes (1) the methodology is reliable; (2) the

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examiner is qualified by reason of training, experience and

proficiency testing; (3) the expert opinion is inadmissible

because it fails to comport with the standards for documentation

and peer review in the ballistics field, and (4) the dispute over

the effect of replacement parts does not render the testimony

inadmissible but goes to the weight of the evidence.          The motion

in limine is ALLOWED without prejudice to the government’s re-

submission of test results that comply with the standards in the

ballistics field.

                            II. BACKGROUND

     Defendants have been indicted for violations of the

Racketeer Influenced and Corrupt Organizations Act (RICO), 18

U.S.C. § 1961 et. seq., related to their alleged membership in a

violent street gang known as Stonehurst.        The government intends

to prove these allegations, in part, through the use of expert

testimony by firearms examiner Sgt. Weddleton of the

Massachusetts State Police.     Sgt. Weddleton seeks to offer his

opinion that cartridge cases recovered from the scenes of these

various shootings match cartridge cases test-fired from guns

linked to the defendants.     In particular, Sgt. Weddleton will

opine that these cartridge cases were fired by a 9 mm. Ruger and

a 9 mm. FEG FP 9 Browning High-Power.

     With respect to the FEG FP 9, police recovered part of the

gun in a sewer in a state of disrepair.       Sgt. Weddleton


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reconstructed the gun using numerous replacement parts and test-

fired it.   He then examined the test-fired cartridge case and the

cartridge case recovered from the crime scene, and declared them

a match.

                            III. DISCUSSION

A.   The Court’s Gatekeeper Role Under Daubert and Kumho Tire

     The admission of expert evidence is governed by Fed. R.

Evid. 702, which codified the Supreme Court’s holding in Daubert

v. Merrell Dow and its progeny.      See United States v. Diaz, 300

F.3d 66, 73 (1st Cir. 2002); see also Fed. R. Evid. 702 advisory

committee’s note.    Rule 702 states:

     If scientific, technical, or other specialized knowledge
     will assist the trier of fact to understand the evidence
     or to determine a fact in issue, a witness qualified as
     an expert by knowledge, skill, experience, training, or
     education, may testify thereto in the form of an opinion
     or otherwise, if (1) the testimony is based upon
     sufficient facts or data, (2) the testimony is the
     product of reliable principles and methods, and (3) the
     witness has applied the principles and methods reliably
     to the facts of the case.

Fed. R. Evid. 702.

     The trial court must determine whether the expert’s

testimony “both rests on a reliable foundation and is relevant to

the task at hand” and whether the expert is qualified.          Daubert,

509 U.S. at 597; Diaz, 300 F.3d at 73 (“[A] proposed expert

witness must be sufficiently qualified to assist the trier of

fact, and [] his or her expert testimony must be relevant to the


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task at hand and rest on a reliable basis.”).         Because “the

admissibility of all expert testimony is governed by the

principles of Rule 104(a),” the proponents of the expert

testimony must establish these matters by a preponderance of the

evidence.   Fed. R. Evid. 702 advisory committee’s note (citing

Bourjaily v. United States, 483 U.S. 171 (1987)); see also Moore

v. Ashland Chem., Inc., 151 F.3d 269, 276 (5th Cir. 1998).

     As a threshold matter, the government suggests that because

toolmark identification evidence has been deemed admissible by

many other courts, the burden of proving such evidence to be

unreliable should shift to the defendants.        I disagree.    Because

reliability under Daubert is among the preliminary inquiries a

court must address under Fed. R. Evid. 104(a), the burden of

proof with respect to reliability remains on the proponent of the

evidence.   See Daubert, 509 U.S. at 593 n.10; Moore, 151 F.3d at

276 (“The proponent need not prove to the judge that the expert’s

testimony is correct, but she must prove by a preponderance of

the evidence that the testimony is reliable.”).

     First, the Court must determine whether all proffered expert

testimony is sufficiently reliable to be admitted, whether

“scientific” or not.    See Kumho Tire, 526 U.S. at 147 (noting

that “[t]he trial judge’s effort to assure that the specialized

testimony is reliable and relevant can help the jury evaluate

that [testimony], whether the testimony reflects scientific,


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technical, or other specialized knowledge”).           The Court must make

a determination as to whether “the reasoning or methodology

underlying the testimony is scientifically valid and of whether

that reasoning or methodology properly can be applied to the

facts in issue.”      Daubert, 509 U.S. at 592-93; Gen. Elec. Co. v.

Joiner, 522 U.S. 136, 142 (1997).          Daubert itself listed five

factors which should guide judges in this determination: (1)

whether the theory or technique can be and has been tested; (2)

whether the technique has been subject to peer review and

publication; (3) the technique’s known or potential rate of

error; (4) the existence of standards controlling the technique’s

operation; and (5) the level of the theory’s or technique’s

acceptance within the relevant discipline.           Daubert, 509 U.S. at

593-94.     “These factors, however, are not definitive or

exhaustive, and the trial judge enjoys broad latitude to use

other factors to evaluate reliability.”          United States v. Mooney,

315 F.3d 54, 62 (1st Cir. 2002) (citing Kumho Tire, 526 U.S. at

153).

     In Kumho Tire, the Supreme Court was careful to emphasize

that the trial judge must exercise her gatekeeping role with

respect to all expert evidence, but that how she might exercise

that role would necessarily vary depending on the type of

testimony at issue.       See Kumho Tire, 526 U.S. at 150; United

States v. Frazier, 387 F.3d 1244, 1262 (11th Cir. 2004) (“Exactly


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how reliability is evaluated may vary from case to case, but what

remains constant is the requirement that the trial judge evaluate

the reliability of the testimony before allowing its admission at

trial.”); Amorgianos v. Amtrak, 303 F.3d 256, 266 (2d Cir. 2002)

(recognizing that “the Daubert inquiry is fluid and will

necessarily vary from case to case”).       Numerous courts have

recognized that the particular factors the Court outlined in

Daubert may not perfectly fit every type of expert testimony,

particularly technical testimony based primarily on the training

and experience of the expert.      See, e.g., Thomas v. City of

Chattanooga, 398 F.3d 426, 431 (6th Cir. 2005) (noting that

“lower courts have flexibility in the application of the factors,

because it may not make sense to apply some of the Daubert

factors, such as the rate of error analysis, to non-scientific

testimony”); United States v. Hankey, 203 F.3d 1160, 1169 (9th

Cir. 2000) (noting that the “Daubert factors . . . simply are not

applicable to . . . testimony, whose reliability depends heavily

on the knowledge and experience of the expert, rather than the

methodology or theory behind it”).       Under Kumho Tire, it is clear

that testimony based on experience must rest on a reliable

foundation.   The critical inquiry is whether the expert “employs

in the courtroom the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.”

526 U.S. at 156; Rider v. Sandoz Pharm. Corp., 295 F.3d 1194,

1197 (11th Cir. 2002).

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     Should the Court find the general methodology underlying the

expert’s proposed testimony sufficiently reliable, it then must

turn to the proffered expert testimony.       The Court must, of

course, ensure that the witness is qualified to offer an expert

opinion.   Poulis-Minott v. Smith, 388 F.3d 354, 359 (1st Cir.

2004).   After determining whether the witness is a qualified

proponent of a scientific or technical methodology, the Court

must then query “whether those principles and methods have been

properly applied to the facts of the case.”        Fed. R. Evid. 702

advisory committee’s note.     “In other words, Rule 702, as

visualized through the Daubert prism, ‘requires a valid

scientific connection to the pertinent inquiry as a precondition

to admissibility.’”    Ruiz-Troche v. Pepsi Cola, 161 F.3d 77, 81

(1st Cir. 1998) (quoting Daubert, 509 U.S. at 592).          As such,

this Court must evaluate the reliability of not only the general

field of toolmark identification but also the application by Sgt.

Weddleton.   See Amorgianos, 303 F.3d at 267 (“In deciding whether

a step in an expert’s analysis is unreliable, the district court

should undertake a rigorous examination of the facts on which the

expert relies, the method by which the expert draws an opinion

from those facts, and how the expert applies the facts and

methods to the case at hand.”).

     The Court’s vigilant exercise of this gatekeeper role is

critical because of the latitude given to expert witnesses to


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express their opinions on matters about which they have no

firsthand knowledge, and because an expert’s testimony may be

given greater weight by the jury due to the expert’s background

and approach.   See Daubert, 509 U.S. at 595; Kumho Tire, 526 U.S.

at 152 (noting that experts enjoy “testimonial latitude

unavailable to other witnesses”); Frazier, 387 F.3d at 1263

(“Simply put, expert testimony may be assigned talismanic

significance in the eyes of lay jurors, and, therefore, the

district courts must take care to weigh the value of such

evidence against its potential to mislead or confuse.”); United

States v. Hines, 55 F. Supp. 2d 62, 64 (D. Mass. 1999) (noting

that “a certain patina attaches to an expert’s testimony unlike

any other witness: this is ‘science,’ a professional’s judgment,

the jury may think, and give more credence to the testimony than

it may deserve”).

     The Court must, however, keep in mind the Supreme Court’s

admonition that, “[v]igorous cross-examination, presentation of

contrary evidence, and careful instruction on the burden of proof

are the traditional and appropriate means of attacking shaky but

admissible evidence.”    Daubert, 509 U.S. at 596; see also 4

Joseph M. McLaughlin, Jack B. Weinstein & Margaret A. Berger,

Weinstein’s Federal Evidence § 702.02[5], at 702-20 (2d ed. 2005)

(“Trial courts should be aware of the curative powers of the

adversary system when faced with an objection that is solely on


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the basis of confusion.”).      Furthermore, the Court must bear in

mind that:

     Daubert does not require that a party who proffers expert
     testimony carry the burden of proving to the judge that
     the expert’s assessment of the situation is correct. As
     long as an expert’s scientific testimony rests upon “good
     grounds, based on what is known,” Daubert, 509 U.S. at
     590 (internal quotation marks omitted), it should be
     tested by the adversary process -- competing expert
     testimony and active cross-examination -- rather than
     excluded from jurors’ scrutiny for fear that they will
     not grasp its complexities or satisfactorily weigh its
     inadequacies. In short, Daubert neither requires nor
     empowers trial courts to determine which of several
     competing scientific theories has the best provenance.
     It demands only that the proponent of the evidence show
     that the expert’s conclusion has been arrived at in a
     scientifically sound and methodologically reliable
     fashion.

Ruiz-Troche, 161 F.3d at 85 (quoting Daubert, 509 U.S. at 590)

(internal citations omitted).      It is with these principles in

mind that the Court assesses the multi-level objection by the

defendants.

B.   Reliability of the Underlying Methodology

     1.    A “Primer” on Firearm Identification

     In order to perform a Daubert/Kumho analysis properly, the

Court must define the challenged methodology, in this case

matching a cartridge case to a particular gun based on a

comparison of grooves and markings, collectively referred to as

toolmarks, left by the firearm on spent cartridge cases.           The

Court will first briefly sketch the process a firearms examiner


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uses when comparing cartridge cases and then examine whether that

process passes muster under Daubert/Kumho.

     The underlying principle of firearm identification is that

each firearm will transfer a unique set of marks, known as

“toolmarks,” to ammunition fired from that gun.        By using a

“comparison microscope” to compare ammunition test-fired from a

recovered gun with spent ammunition from a crime scene, a trained

firearms examiner determines whether the recovered ammunition was

fired from that particular gun.      The following scientific

principles support this approach.

     When a firearm is manufactured, the “process of cutting,

drilling, grinding, hand-filing, and, very occasionally, hand-

polishing . . . will leave individual characteristics” on the

components of the firearm.     See Brian J. Heard, Handbook of

Firearms and Ballistics 127 (1997).      Although modern

manufacturing methods have reduced the amount of handiwork

performed on an individual gun, the final step in production of

most firearm parts requires some degree of hand-filing which

imparts individual characteristics to the firearm part.          See id.

at 128.   This process results in “randomly produced patterns of

individual stria,” or thin grooves or markings, being left on

firearm parts.   Id.   These parts are assembled to compose the

final firearm.




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                                                                      (Defs

  Figure 1: Diagram of semi-automatic handgun components              ’

Expert Rep., Tab A, Fig. 2.)

     When a round (a single “shot”) of ammunition is fired from a

particular firearm, the various components of the ammunition come

into contact with the firearm at very high pressures.         As a

result, the individual markings on the firearm parts are

transferred to the ammunition.     Id.   The ammunition is composed

primarily of the bullet and the cartridge case.        The bullet is

the missile-like component of the ammunition that is actually

projected from the firearm, through the barrel, toward the

target.   (Bullets are not at issue in this challenge.)         The


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cartridge case is the part of the ammunition situated behind the

bullet containing the primer and propellant, the explosive

mixture of chemicals that causes the bullet to be projected

through the barrel.    Id. at 42.    In the case of a semi-automatic

handgun, once a round of ammunition is loaded into the chamber,

and the gun is cocked, the shooter pulls the trigger, and the

firing pin is released.    The firing pin strikes the back of the

cartridge case, igniting the primer in the ammunition, thus

starting a chemical reaction, leading to

     the bullet being pushed down the barrel by the
     expanding gases. These gases also exert an equal
     and opposite force on the cartridge case which
     forces the slide and breechblock to the rear. This
     ejects the spent cartridge case through a port in
     the side, or occasionally top, of the slide.

Id. at 19.

     During this process, which occurs in a fraction of a second,

the cartridge case comes into contact with several parts of the

firearm, most notably the firing pin, as explained above, and the

breech face, a flat surface behind the cartridge case against

which the cartridge case is pushed by the expanding gases.          When

the cartridge case is “slammed into the standing breech face,”

some of the individual toolmarks left on the breech face in the

manufacturing process are replicated on the surface of the

cartridge case.   Id. at 131.    These toolmarks are referred to as

“impressed” toolmarks.    Other marks might be left on the


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ammunition when parts of the firearm, like the firing pin, the

extractor, or the ejector, are moved across the cartridge case,

and these are referred to as “striated” toolmarks.         See Theory of

Identification (hereinafter “AFTE Theory”), Association of

Firearm and Toolmark Examiners (“AFTE”), 30 AFTE J. 86, 88 (1998)

(Ex. 24).

     Each of the marks left on a particular cartridge case,

whether “impressed” or “striated,” may or may not be unique to

that particular firearm.    Firearms examiners classify these types

of marks in three categories: class, subclass, and individual

characteristics.   See id. at 87-88.     Class characteristics are

defined as “family resemblances which will be present in all

weapons of the same make and model.”      Heard, supra, at 132.         A

class characteristic will potentially reproduce similar marks on

all ammunition fired from a particular make and model of a

firearm.    (Daubert Hr’g Tr. 13, Oct. 27, 2005.)

     Subclass characteristics appear on a smaller subset of a

particular make and model of a firearm.       They are “produced

incidental to manufacture” and “can arise from a source which

changes over time.”    AFTE Theory, supra, at 88.      Subclass

characteristics, then, may be present on a group of guns within a

certain make or model, such as those manufactured at a particular

time and place.




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     Individual characteristics are defined as “[r]andom

imperfections produced during manufacture or caused by accidental

damage . . . which are unique to that object and distinguish it

from all others.”   Heard, supra, at 132.      A variety of each type

of mark is left on a spent round of ammunition.        Some of the

individual characteristics of toolmarks are comprised of non-

unique marks.   Adina Schwartz, A Systemic Challenge to the

Reliability and Admissibility of Firearms and Toolmark

Identification, 6 Colum. Sci. & Tech. L. Rev. 2, 6 (2005) (citing

Jack D. Gunther and Charles Gunther, The Identification of

Firearms, 90-91 (1935) (“It is probably true that no two firearms

with the same class characteristics will produce the same

signature, but it is likewise true that each element of a

firearm’s signature may be found in the signatures of other

firearms.”)).   Also, individual characteristics of toolmarks

change somewhat over time due to wear and tear.

     Now enters the firearms examiner.       The basic underpinnings

of firearm identification by comparing patterns produced on

cartridge cases have been ably described by a firearm specialist

for the FBI:

     The theory underlying firearms identification is
     that no two firearms should produce the same
     microscopic features on bullets and cartridge cases
     such that they could be falsely identified as
     having been fired from the same firearm. . . .
     Patterns produced on bullets and cartridge cases
     from contact with [barrels and breech faces] can be
     microscopically compared to determine if they have

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        originated from a common source.

Erich D. Smith, Cartridge Case and Bullet Comparison Validation

Study with Firearms Submitted in Casework, 36 AFTE J. 130 (2004)

(Ex. 20).

     With this principle in mind, a firearms examiner presented

with a handgun and spent cartridge cases will test fire the

weapon using the same type of ammunition as that recovered in the

case.    The examiner will look at the test-fired cartridge cases

and the recovered cartridge cases simultaneously using an

instrument called a comparison microscope, which is necessary to

overlay the images of the two shell casings.        First put into use

in 1925, the comparison microscope allows the examiner to compare

the tiny markings left on the two cartridge cases.         In theory, if

the test cartridges and recovered cartridges were fired from the

same gun, the examiner would see sufficient patterns of matching

marks, supposedly leading to “a result as conclusive as

fingerprints.”    Julian S. Hatcher, Frank J. Jury & Jac Weller,

Firearms Investigation, Identification, and Evidence 15 (2d ed.

1957).




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     Figure 2: A textbook example of a “match.”



Heard, supra, at 129.

     2.   The Challenge to the Methodology

     Defendants levy their strongest attack on the process by

which an expert comes to the conclusion that a cartridge case was

fired from a particular gun.     A perfect correspondence between

the lines on a test-fired cartridge and the evidence recovered

from the scene is impossible; in the real world, there is no such

thing as a “perfect match.”     Alfred A. Biasotti, A Statistical

Study of the Individual Characteristics of Fired Bullets, 4 J.

Forensic Sci. 34, 44 (1959) (Ex. 27) (noting the “erroneous

conception of a ‘perfect match’ which is actually only a


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theoretical possibility and a practical impossibility”).          The

government’s expert at the Daubert hearing, whom I found

qualified and credible, Special Agent Curtis of the ATF,

confirmed that all the marks will not match up even when two

cartridges have been fired from the same gun.        (Daubert Hr’g Tr.

88, Sept. 16, 2005.)    Rather, he echoed the findings of a 1957

study by Alfred Biasotti which found that only 21-38 percent of

the marks will match up on bullets fired from the same gun.             (Id.

at 90.)   These differences may be due to possible changes in

toolmarks over time.    Schwartz, supra, at 8.      Moreover, when

bullets fired by two different .38 special Smith & Wesson

revolvers of the same make and model were compared, 15-20 percent

of the lines matched up.    (Daubert Hr’g Tr. 90-91, September 10,

2005.)    Accord Biasotti, supra, at 37-40; Ronald G. Nichols,

Firearm and Toolmark Identification Criteria: A Review of the

Literature, 42 J. Forensic Sci. 466, 467 (1997) (Ex. 17).

Therefore, there can be a pattern of matching marks on cartridge

cases fired from different guns.

     The conclusion that a recovered cartridge case matches a

test-fired cartridge case is based on a subjective “threshold

currently held in the minds eye of the examiner and . . . based

largely on training and experience in observing the difference

between known matching and known non-matching impression

toolmarks.”   Richard Grzybowski et al., Firearm/Toolmark



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Identification: Passing the Reliability Test Under Federal and

State Evidentiary Standards, 35 AFTE J. 209, 213 (2003) (Ex. 18).

A recent article has highlighted the complexity of comparing

patterns because of the difficulty in distinguishing between

class, subclass, and individual characteristics, noting that a

firearm “may be wrongly identified as the source of a toolmark it

did not produce if an examiner confuses subclass characteristics

shared by more than one tool with individual characteristics

unique to one and only one tool.”       Schwartz, supra, at 8.     Both

experts seem to agree that most examiners do not accept

quantitative standards for determining whether two cartridge

cases were fired from the same gun.      Moreover, Special Agent

Curtis testified that there was “no application” of “probability

studies and statistics” to the field of firearm identification.

(Daubert Hr’g Tr. 48-49, Sept. 16, 2005.)

     To respond to this challenge, Special Agent Curtis advanced

the methodology embodied in the AFTE Theory.        AFTE is the leading

professional organization in the field and publishes standards

for ensuring reliability and proficiency.       (Daubert Hr’g Tr. 45,

Sept. 16, 2005.)   The AFTE Theory “as it pertains to the

comparison of toolmarks enables opinions of common origin to be

made when the unique surface contours of two toolmarks are in

‘sufficient agreement’.”    AFTE Theory, supra, at 86.       The

document defines “sufficient agreement” as follows:


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      This “sufficient agreement” is related to the significant
      duplication of random toolmarks as evidenced by the
      correspondence of a pattern or combination of patterns of
      surface contours.    Significance is determined by the
      comparative examination of two or more sets of surface
      contour patterns comprised of individual peaks, ridges
      and furrows. Specifically, the relative height or depth,
      width, curvature and spatial relationship of the
      individual peaks, ridges and furrows within one set of
      surface contours are defined and compared to the
      corresponding features in the second set of surface
      contours. Agreement is significant when it exceeds the
      best agreement demonstrated between toolmarks known to
      have been produced by different tools and is consistent
      with agreement demonstrated by toolmarks known to have
      been produced by the same tool.      The statement that
      “sufficient agreement” exists between two toolmarks means
      that the likelihood that another tool could have made the
      mark is so remote as to be considered a practical
      impossibility.

Id.   The theory follows this qualitative guideline, candidly

acknowledging: “Currently the interpretation of

individualization/identification is subjective in nature, founded

on scientific principles and based on the examiner’s training and

experience.”    Id.

      The examiner then, after evaluation of the samples under a

microscope, declares whether or not the cartridge case was fired

from the firearm in question.       Under the AFTE Theory, the

examiner may declare an “identification” after making the

following finding:

      Agreement of a combination of individual characteristics
      and all discernable class characteristics where the
      extent of agreement exceeds that which can occur in the
      comparison of toolmarks made by different tools and is
      consistent with the agreement demonstrated by toolmarks
      known to have been produced by the same tool.

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AFTE Theory, supra, at 86.     The examiner may also conclude that

the comparison is “inconclusive,” that the firearm did not fire

the ammunition in question, or that the sample is unsuitable for

microscopic examination.    Id. at 87.

     This conclusion is not based on any quantitative standard

for how many striations or marks need to match or line up.

Instead, it is based on a holistic assessment of what the

examiner sees.    See Grzybowski et al., supra, at 214 (“The AFTE

Theory of Identification is based on an assessment of both

quality and quantity of agreement observed between toolmarks

being compared.    This is how toolmark identifications have always

been made.”).    Special Agent Curtis characterized this process:

“It’s just from examining all the marks and then interpreting.”

(Daubert Hr’g Tr. 88, Sept. 16, 2005.)

     Then, as Special Agent Curtis testified, additional AFTE

standards require the examiner to document his findings through

identifications by notes, sketches, or photographs.         (Daubert

Hr’g Tr. 43-4, Sept. 16, 2005; see infra part III.D.)

Subsequently, the examiner should have a second examiner review

his work and his findings.     (Daubert Hr’g Tr. 46, Sept. 16, 2005;

see infra part III.D.E.)

     3.   Prior Judicial Analyses of Admissibility of the
          Methodology

     For decades, both before and after the Supreme Court’s


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seminal decisions in Daubert and Kumho Tire, admission of the

type of firearm identification testimony challenged by the

defendants has been semi-automatic; indeed, no federal court has

yet deemed it inadmissible.     See, e.g., United States v. Hicks,

389 F.3d 514, 526 (5th Cir. 2004) (dealing with a similar

challenge, noting that “[w]e have not been pointed to a single

case in this or any other circuit suggesting that the methodology

. . . is unreliable”); United States v. Santiago, 199 F. Supp. 2d

101, 111 (S.D.N.Y. 2002) (“The Court has not found a single case

in this Circuit that would suggest that the entire field of

ballistics identification is unreliable.”).

     Courts have understandably been gun shy about questioning

the reliability of firearm identification evidence.         See

Santiago, 199 F. Supp. 2d at 111-12 (“The Court . . . can only

imagine the number of convictions that have been based, in part,

on expert testimony regarding the match of a particular bullet to

a gun seized from a defendant or his apartment.”).         Accord United

States v. Foster, 300 F. Supp. 2d 375, 377 n.1 (D. Md. 2004)

(noting that “[b]allistics evidence has been accepted in criminal

cases for many years”); United States v. O’Driscoll, 2003 U.S.

Dist. LEXIS 3370 at *4 (M.D. Pa. Feb. 10, 2003).         Storm clouds,

however, are gathering.1    See Sexton v. State, 93 S.W.3d 96 (Tex.

     1
      In a recent opinion, Judge Gertner of this District
expressed “serious reservations” regarding the reliability of
firearm toolmark identification evidence. See United States v.
Green, No. 02-10301-NG, slip. op. at 5 (D. Mass. Dec. 20, 2001).

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Crim. App. 2002) (rejecting matching of cartridge cases based on

magazine marks alone without recovery of underlying magazine);

Ramirez v. State, 810 So. 2d 836 (Fla. 2001) (rejecting toolmark

analysis matching knife to fatal stab wounds).        One commentator

from within the firearm identification profession has cited

Daubert objections as “perhaps the biggest challenge facing the

firearms discipline since it was firmly established in the

1920's.”   Sgt. Gerard Dutton, Ethics in Forensic Firearms

Investigation, 37 AFTE J. 79, 82 (2005) (Ex. 6).

     4.    Firearm Identification Through the Prism of Rule 702

     Defendants allege that this pattern-based methodology, as

embodied in the AFTE standard, even when followed correctly by a

qualified examiner, is not sufficiently reliable to be admissible

under Rule 702 and Daubert/Kumho Tire.

     One issue to note at the outset is whether the expert

testimony proffered in this case is “scientific,” like the

disputed epidemiological studies in Daubert, or “technical,” like

the testimony of the tire failure expert in Kumho Tire.          In

either case, the Court must still ensure the testimony is

sufficiently reliable.    See Kumho Tire, 526 U.S. at 152; Berry v.

City of Detroit, 25 F.3d 1342, 1350 (6th Cir. 1994) (noting that

expert testimony based on experience, such as that of a beekeeper


Judge Gertner admitted the evidence with some limitations, noting
that “precedent plainly points in favor of admissibility.” Id.
at 39.

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testifying that bees always take off into the wind, may be

admissible under Rule 702, but a court still must ensure its

reliability).

     Firearm identification evidence straddles the line between

testimony based on science and experience.       As the AFTE Theory

describes it, the methodology is “subjective in nature, founded

on scientific principles and based on the examiner’s training and

experience.”    Supra, at 86.   Science is in the background, at the

core of the theory, but its application is based on experience

and training. The Court must, therefore, determine the

reliability of both the underlying science and its application.

     Initially, defendants mounted an interesting attack, arguing

that modern manufacturing methods have reduced the number of

individual toolmarks that might be transferred from the firearm

to the ammunition.   However, this attack fizzled at the hearing.

Defendants did not offer any evidence that these modern

manufacturing methods had this effect on the guns at issue in

this case.   Moreover, recent scientific studies have demonstrated

that the underlying principle that firearms leave unique marks on

ammunition has continuing viability.      See, e.g., Smith, supra, at

130-31 (noting that studies have confirmed that tests have showed

that consecutively manufactured gun barrels left unique marks on

bullets fired through them); Amy C. Coody, Consecutively

Manufactured Ruger P-89 Slides, 35 AFTE J. 157 (2003) (Ex. 19)


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(finding that with respect to consecutively manufactured Ruger

pistols “variations, combined with other imperfections and

irregularities that occurred during the manufacturing process,

result in unique, individual breechface marks that can be

positively identified.”).

     Additionally, with respect to the case at hand, the

government presented an affidavit from an FBI Special Agent

Philip Ball who had visited the Hungarian plant where the FEG FP

9 handgun in this case had been constructed.        (Aff. of Philip

Ball at 4-5) (Ex. 32).    The agent stated that the “plant was

archaic, and the manufacturing process used was not modern but

rather more than 50 years old.”      (Id.)   Moreover, Special Agent

Ball stated that the breech face of this brand of firearm was

milled and finished by hand.     (Id. at 5.)

     In his testimony, defense expert LaMagna, distancing himself

from the original position that recently manufactured firearms

did not leave unique marks on cartridge cases, testified that

those marks could be better identified and analyzed using more

modern equipment such as a scanning electron microscope (“SEM”).

(Daubert Hr’g Tr. 109, Nov. 17, 2005.)       Another impressive

witness, Mary-Jacque Mann, formerly of the Bureau of Fish and

Wildlife, testified that she had used such a microscope in

firearms identification with excellent results, but conceded this

was a non-traditional approach.      (Daubert Hr’g Tr. 47, July 29,


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2005.)   See Mary-Jacque Mann & Edgard O. Espinoza, Firearms

Examinations By Scanning Electron Microscopy: Observations and an

Update on Current and Future Approaches, 24 AFTE J. 294 (1992)

(Ex. 2) (pointing out that SEM provides better depth of field,

magnification, and imaging than conventional optical microscopy).

It may well be that other methods not generally used in the field

may prove to be the best method of analysis.        However, Daubert

and Kumho Tire do not make the perfect the enemy of the reliable;

an expert need not use the best method of evaluation, only a

reliable one.

     There has also been no credible challenge to the underlying

physical theory of how marks are transferred from the firearm to

the cartridge case.    The government has met its burden with

regard to demonstrating that the underlying scientific principle

that firearms leave unique marks on ammunition is reliable under

Rule 702.

     The question of whether the methodology of identifying a

match between a particular cartridge case and gun is reliable

requires far more analysis.     This process is admittedly

“subjective” and based on experience and training of the

individual examiner.    The advisory committee’s note to Rule 702

counsels:




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     If the witness is relying solely or primarily on
     experience, then the witness must explain how that
     experience leads to the conclusion reached, why that
     experience is a sufficient basis for the opinion, and how
     that experience is reliably applied to the facts. The
     trial court’s gatekeeping function requires more than
     simply “taking the expert’s word for it.”

Fed. R. Evid. 702 advisory committee’s note (citing Daubert v.

Merrell Dow, 43 F.3d 1311, 1319 (9th Cir. 1995)).         Daubert

demands that the expert’s “‘knowledge’ connote[] more than

subjective belief or unsupported speculation.”        509 U.S. at 590;

see also Ambrosini v. Labarraque, 101 F.3d 129, 134 (D.C. Cir.

1996).

     The Court will now assess this methodology for matching

patterns of toolmarks on cartridge casings using Daubert and

Kumho Tire as a guide, taking into account defendants’ numerous

objections.

          a.   Peer Review and Publication

     Daubert counsels that “publication in a peer reviewed

journal [is] a relevant, though not dispositive, consideration in

assessing the validity of a particular technique or methodology

on which an opinion is premised.”       Daubert, 509 U.S. at 594.       The

First Circuit has elaborated, noting that publication and peer

review “serve as independent indicia of the reliability of the

. . . technique” and “demonstrate a measure of acceptance of the




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methodology within the scientific community.”           Ruiz-Troche, 161

F.3d at 84.

       The AFTE publishes a peer reviewed journal, aptly named the

AFTE Journal, which contains numerous articles validating the

current technique of firearm identification.           See, e.g., Smith,

supra, at 132 (concluding that “the absence of false positives or

false negatives indicates that the theory of firearms

identification, using pattern recognition, is an accurate and

precise method for determining a common source for bullets and

cartridge cases for firearms collected from casework”); Nichols,

supra (for a bibliography of various studies).           The Journal

maintains a formal pre-publication peer review process, including

“assignment of manuscripts to other experts within the scientific

community for a technical review, returning of manuscripts to

authors for clarification and re-write, and a final review by the

Editorial Committee.”       Grzybowski et al., supra, at 220; see also

Dominic J. Denio, The History of the AFTE Journal, the Peer

Review Process, and Daubert Issues, 34 AFTE J. 210 (2002) (Ex.

23).

       Other peer reviewed articles have not universally been

laudatory of the current technique of identification.            The above-

referenced Biasotti study in the Journal of Forensic Science

opens by noting an “almost complete lack of factual and

statistical data pertaining to the problem of establishing


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identity in the field of firearm identification.”         Biasotti,

supra, at 34.    Professor Schwartz, who, it bears mentioning, is

not a firearms examiner, also attacks the methodology in a peer

reviewed publication.    Schwartz, supra.     Although there appears

to be a disagreement in the peer reviewed literature as to the

reliability of the AFTE method of identification, consensus is

not necessary.

          b.     Known Error Rate

     Daubert directs that “in the case of a particular scientific

technique, the court ordinarily should consider the known or

potential rate of error.”     509 U.S. at 594.     In the case of

firearm toolmark identification, because the process is so

subjective and qualitative, it “is not possible to calculate an

absolute error rate for routine casework.”       Grzybowski et al.,

supra, at 219.

     One article cited by the government actually posits that the

error rate is 1.4 percent based on a 1978-1991 study of results

of proficiency tests given by a private firm, Collaborative

Testing Services (CTS).    Grzybowski et al., supra, at 216.          The

authors note, however, that this figure may not stand up to

scrutiny due to variations in the difficulty of the tests and the

conditions under which they were taken.       Id. at 218.    The

government also relies on a study by Bunch and Murphy in which

FBI examiners, all of whom knew they were being tested, conducted


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360 cartridge case examinations, and no false positives and no

false negatives were reported.        Stephen G. Bunch & Douglas P.

Murphy, A Comprehensive Validity Study for the Forensic

Examination of Cartridge Cases, 35 AFTE J. 201, 203 (1993) (Ex.

22).    The lack of false positives is an especially important

figure because it indicates a somewhat reduced risk of wrongfully

accusing a defendant.       See United States v. Mitchell, 365 F.3d

215, 259 (3d Cir. 2004) (noting that the rate of false positives

is the critical figure in Daubert analysis).

       The testimony at the hearing raised a note of caution about

the proficiency testing on which this figure is based.             First,

proficiency testing is not required of all firearms examiners,

only those working in labs voluntarily seeking to be certified by

the American Society of Crime Laboratory Directors (ASCLD),

meaning that the sample is self-selecting and may not be

representative of the complete universe of firearms examiners.

(Daubert Hr’g Tr. 71, Oct. 27, 2005).          Second, examiners know

when they are being tested.        (Id.)     There is also some variation

depending on whether the incorrect conclusion that a result is

“inconclusive” is counted.        (Id. at 71.)

       Mary Kate McGilvray, quality assurance manager at the

Massachusetts State Crime Lab, testified that in the 2005 CTS

cartridge case examination, none of the 255 test-takers

nationwide answered incorrectly.           (Daubert Hr’g Tr. 10, Oct. 28,


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2005.)   One could read these results to mean that the technique

is foolproof, but the results might instead indicate that the

test was somewhat elementary.     See United States v. Lewis, 220 F.

Supp. 2d 548, 554 (S.D. W. Va. 2002) (finding proficiency testing

for handwriting analysis “not meaningful” when “all of [the

expert’s] peers always passed”), United States v. Plaza, 188 F.

Supp. 2d 549, 564-65 (E.D. Pa. 2002) (noting that the FBI’s

fingerprint examiner proficiency tests, on which examiners

“scored spectacularly well,” were “less demanding than they

should be” and therefore “can be of little assistance in

providing the test makers with a discriminating measure of the

relative competence of the test takers.”).       Nonetheless, there is

no evidence that the tests are inaccurate or otherwise deficient.

     Based on the record before me, the government has

established that known error rate is not unacceptably high.

          c.   Testability

     Because of the subjectivity of the analysis, Special Agent

Curtis underscored the standards in the ballistics field ensuring

the intellectual rigor of the examiner in performing the

identifications and the testability of his results.         Firearms

examiners are required to document their results and have their

work reviewed by another examiner.      These requirements ensure the

reliability and the reproducibility of the examiner’s results.

See United States v. Crisp, 324 F.3d 261, 269 (4th Cir. 2003)


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(upholding admission of fingerprint evidence despite lack of a

universal standard for identification due to requirements of

“professional training, peer review, presentation of conflicting

evidence, and double checking”); Plaza, 188 F. Supp. 2d at 571

(noting that such standards in fingerprint analysis create a

“substantially more restricted compass” on subjective opinion).

     Special Agent Curtis indicated AFTE standards require an

examiner to document his or her findings by notes, sketches, or

photographs.   (Daubert Hr’g Tr. 43-44, Sept. 16 2005.)         In lieu

of a picture the examiner should take notes as to which markings

on the cartridge case caused the examiner to declare a match.

(Daubert Hr’g Tr. 46-47, Sept. 16 2005.)       As one firearms

examiner indicated in the AFTE Journal in 2003:

     In other words, for our work to be valid, it must be
     verifiable to other examiners. This means that other
     examiners must be able to repeat the work and come to the
     same conclusions.    Therefore, the data that we gather
     should provide a well-defined “roadmap” as to what
     experiments we performed to answer the question(s) posed,
     what data was gathered, and a clear demonstration of the
     evidence from which we supported our conclusion(s). This
     mechanism of communication among scientists is a
     substantial part of the process of verification.

Bruce Moran, Photo Documentation of Toolmark Identifications – An

Argument in Support, 35 AFTE J. 174, 181 (2003) (Ex. 14).

Although that article does not speak directly to AFTE guidelines,

that language corresponds to the purpose of documentation as

described by Special Agent Curtis.


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     Furthermore, ASCLD states in its Laboratory Accreditation

Board Manual, excerpts of which were introduced as Exhibit 49 in

the evidentiary hearing, that “documentation to support

conclusions must be such that in the absence of the examiner,

another competent examiner or supervisor could evaluate what was

done and interpret the data.”     American Society of Crime

Laboratory Directors, Laboratory Accreditation Board Manual, 29

(1997) (Ex. 49).   In addition, the leading treatise in the field

states that the “firearms expert must not only do his work

meticulously, accurately, and efficiently; he must also report

his findings in the same manner.”       Hatcher et al., supra, at 445.

     Special Agent Curtis also indicated that it was the standard

in the field to have a second examiner independently review the

findings of the first examiner.      (Daubert Hr’g Tr. 46, Sept. 16,

2005 (“Once an examiner does his examinations, if they have a

second person do technical review of it, that helps cut down on

. . . any errors being performed . . . during that

examination.”).)   On cross-examination, Special Agent Curtis

reiterated that the standard in the field would be to have a

second examiner verify a match.      (Daubert Hr’g Tr. 33, Oct. 27,

2005.)   Moreover, the definitive treatise in the field indicates

that a second examiner must review the first examiner’s work and

conclusions.   See Hatcher et al., supra, at 383 (“A positive

match should be confirmed by a second examination.         The usual



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laboratory personnel should check the comparison.”); see also

Grzybowski et al., supra, at 219 (noting that ASCLD requires peer

and administrative review of an examiner’s work).         The

Massachusetts State Police expert who testified at the Daubert

hearing, Mary Kate McGilvray, agreed.        (Daubert Hr’g Tr. 25, Oct.

28, 2005.)

     Documentation and peer review ensure that defense counsel

will be able to challenge the results through their own testing

and effective cross-examination.        Defense experts may testify

about both the limitations of the methodology and the evidence in

a particular case in a way accessible to the jury.         See Currier

v. United Techs. Corp., 393 F.3d 246, 252 (1st Cir. 2004) (noting

that “weakness of [an expert’s] analysis [was] a matter of weight

rather than admissibility and thus properly a subject of argument

and jury judgment”); Mooney, 315 F.3d at 63 (“flaws in [an

expert’s] opinion may be exposed through cross-examination or

competing expert testimony”).

     Accordingly, although the process of rendering an opinion is

primarily subjective and based on the expertise of the examiner,

the existence of the requirements of peer review and

documentation ensure sufficient testability and reproducibility

to ensure that the results of the technique are reliable.




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          d.      Standards For the Technique’s Operation

     Daubert directs courts to consider “the existence and

maintenance of standards controlling the technique’s operation.”

509 U.S. at 594.    As noted above, the requirements of

documentation and peer review of examiners’ results are industry

standards which help to ensure reliability and testability of the

expert opinion.    Maintenance of these standards is a strong

factor in favor of admissibility.       The government argues,

however, that even these standards need not be religiously

followed because they only reflect emerging trends and include

protocols not used by many laboratories.       The government

erroneously believes it should be held to no standard at all, an

argument which even the ballistics field, per the AFTE, rejects.

Even if many examiners do not currently follow these guidelines,

they have been put forward as standards by the leading

professional organization in the field.       I find that the AFTE

standards of documentation and peer review were adopted by the

ballistics industry to ensure the reliability of test results and

examiners at a minimum must comply with them.

     The field, however, continues to search for a universal

standard for when an examiner may declare a “match.”         Special

Agent Curtis put forward the AFTE Theory, but this theory leaves

much to be desired.    It bears re-emphasizing that the AFTE Theory

is not a numeric or statistical standard, but is based on the


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individual examiner’s expertise.        As one author in the field has

stated, “Due to the subjective nature of the processes involved

in the elimination of insignificant detail, the criteria used by

the expert to ascertain the degree of concordance of stria cannot

be mathematically quantified.”     Heard, supra, at 140.

     Instead, the AFTE Theory, upon which the government relies,

is tautological: it requires each examiner to decide when there

is “sufficient agreement” of toolmarks to constitute an

“identification.”    AFTE Theory, supra, at 86.      This threshold is

surpassed when the examiner finds that the agreement of toolmarks

“exceeds the best agreement demonstrated between toolmarks known

to have been produced by different tools and is consistent with

agreement demonstrated by toolmarks known to have been produced

by the same tool.”    Id.   Toolmark analysis does not follow an

objective standard requiring, say, a certain percentage of marks

to match.   Rather, as noted, this “threshold is currently held in

the minds eye of the examiner and is based largely on training

and experience.”    Grzybowski et al., supra, at 213.

     Since Daubert, many examiners understandably have been

concerned about the lack of an objective standard.         The

Grzybowski article, on which the government relies, also states

that an “increasing number of toolmark examiners have applied

‘conservative criteria’” which involves counting consecutively

matching striae (CMS) to a proposed numeric threshold between


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identity and nonidentification as proposed by Biasotti and

Murdoch, The Scientific Basis of Firearms and Toolmark

Identification, 516-517 (1997) (in 3 David L. Feigman et al

Modern Scientific Evidence 490 (2002)).          The Grzybowski et al.

article also states that CMS is generally accepted as a concept

in toolmark identity and is an extension of the currently

prevailing “pattern match” technique.          Supra, at 213.    Professor

Schwartz describes the CMS protocol:

       Under CMS, the threshold for identifying a
       particular tool as the source of a three-
       dimensional toolmark is a match between evidence
       and test toolmarks of one group of six consecutive
       matching stria or two different groups of at least
       three consecutive matching striae in the same
       relative position.      The threshold for two-
       dimensional toolmarks is one group of eight
       consecutive matching striae or two groups of at
       least five consecutive matching striae in the same
       relative position.

Schwartz, supra, at 15.       In some experts’ views, the Biasotti CMS

method provides a more objective standard for determining when a

sufficient number of striae are consistent to declare a match.

Id.    See also Dutton, supra, at 83 (opining that CMS is a

“positive step forward in developing a more objective approach”);

Schwartz Aff. ¶ 16.

       Although CMS is a widely accepted protocol which has been

scientifically validated, it is not the predominant standard in

the field according to AFTE.        See Grzybowski et al., supra, at

215.    Special Agent Curtis confirmed this (Daubert Hr’g Tr. 30,

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Oct. 27, 2005), and Sgt. Weddleton stated that he does not follow

that method either, opting instead for a more holistic approach

(Daubert Hr’g Tr. 30, Oct. 28, 2005).       So, we are left with the

AFTE Theory.

     At least in Massachusetts, however, the AFTE Theory does not

appear to be a broadly recognized document.        Apparently, while

the AFTE Theory appears to be widely accepted by trained firearms

examiners, it is not universally followed.       Sgt. Weddleton

testified that he had never before even seen or heard of it.

(Daubert Hr’g Tr. 41, Oct. 28, 2005.)       Not only that, Mary Kate

McGilvray, of the Massachusetts State Police Crime Lab, also

testified that she had never before read the AFTE Theory and that

it was not the policy in her lab.       (Daubert Hr’g Tr. 18, Oct. 28,

2005.)   That said, the AFTE Theory appears to be more of a

description of the process of firearm identification rather than

a strictly followed charter for the field.

     As pointed out above, one critical problem with the AFTE

Theory is the lack of objective standards for deciding whether a

particular mark is a subclass or individual characteristic.

Again, a subclass characteristic is one which is present on a

subset of a make and model of a gun, such a batch manufactured at

a particular time and place.     The AFTE Theory states only that

“[c]aution should be exercised in distinguishing subclass

characteristics from class characteristics,” but it offers no


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additional guidance.    Supra, at 88.    Special Agent Curtis added

that the AFTE Theory offers no guidance on telling the difference

between subclass and individual characteristics.         (See Daubert

Hr’g Tr. 48, Oct. 27, 2005.)2     Thus, there is no generally

accepted standard for distinguishing between class, subclass, and

individual characteristics.

     The question, then, is whether a method that relies on the

individual examiner’s training and experience to distinguish

between characteristics on a cartridge casing is fatal to the

reliability of the technique on the whole.       Based on the peer

reviewed articles and the testimony of the witnesses,

particularly Special Agent Curtis, I conclude that the trained

eye will be able to distinguish among the class, subclass, and

individual characteristics produced by the firearms.         As Judge

Pollak noted in Plaza, “there are many situations in which an

expert’s manifestly subjective opinion (an opinion based . . . on

‘one’s personal knowledge, ability, and experience’) is regarded

as admissible evidence in an American courtroom.”         188 F. Supp.

2d at 570 (deeming admissible under Daubert the “ACE-V” method of

fingerprint analysis, which relies on a holistic assessment

rather than a required number of “points” of identification).           He

continues: “In each instance the expert is operating within a


     2
      Of serious concern, Sgt. Weddleton indicated that he does
not even consider subclass characteristics when he examines
breech face markings. (Daubert Hr’g Tr. 49, Oct. 28, 2005.)

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vocational framework that may have numerous objective components,

but the expert’s ultimate opining is likely to depend in some

measure on experiential factors that transcend precise

measurement and quantification.”           Id. at 571, accord Mitchell,

365 F.3d at 246 (affirming admission of fingerprint evidence even

though some testimony indicated that the “examination process is

irreducibly subjective”); Bitler v. A.O. Smith Corp., 391 F.3d

1114, 1122 (10th Cir. 2004) (admitting fire investigator’s

testimony despite finding it “not susceptible to testing or peer

review,” and stating that the expert’s “personal experience,

training, method of observation, and deductive reasoning

sufficiently reliable to constitute ‘scientifically valid’

methodology”).

       As such, I find that the maintenance of standards with

respect to documentation and peer review weigh in favor of

admissibility.      The lack of a universal standard for declaring a

match is troubling but not fatal under Daubert/Kumho because a

court may admit well-founded testimony based on specialized

training and experience.

             e.   General Acceptance Within the Relevant Community

       In Daubert and Kumho Tire, the Supreme Court affirmed the

continued relevance of whether the technique at issue is

generally accepted within the scientific community.            509 U.S. at

594.    “Widespread acceptance can be an important factor in ruling


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particular evidence admissible, and ‘a known technique which has

been able to attract only minimal support within the community’

may properly be viewed with skepticism.”       Id.   It is clear that

the community of firearm and toolmark examiners accepts the

current identification methodology as reliable.        Grzybowski at

al., supra, at 220-21.    Certainly, some authors have argued that

the technique might be better performed through the use of

improved technology or the application of statistical methods.

See, e.g., Mann & Espinoza, supra, at 294 (noting possible

improvements to the filed through use of more advanced

instruments); Biasotti, supra, at 34 (noting desire for a more

quantitative approach).     Cf. United States v. Lowe, 954 F. Supp.

401, 406-08 (D. Mass. 1996) (discussing rigorous scientific and

statistical basis for DNA identification).         Although these

authors have suggested possible improvements, the community of

toolmark examiners seems virtually united in their acceptance of

the current technique.    See Grzybowski, supra at 220-21.

     5.   The Bottom Line

     Based on the factors outlined in Daubert and Kumho Tire,

the Court concludes that the methodology of firearms

identification is sufficiently reliable.       Therefore, a qualified

examiner who has documented and had a second qualified examiner

verify her results may testify based on those results that a

cartridge case matches a particular firearm to a reasonable


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degree of ballistic certainty.     See Ruiz-Troche, 161 F.3d at 82

(allowing accident reconstruction expert to testify to reasonable

degree of scientific certainty); Baker v. Dalkon Shield Claimants

Trust, 156 F.3d 248, 253 (1st Cir. 1998) (allowing doctor to

testify about the cause of a disease to a “reasonable degree of

medical certainty,” acknowledging that “little in diagnosis is

certain”); McGuire v. Davidson Mfg. Corp., 238 F. Supp. 2d 1096,

1101 (N.D. Iowa 2003) (allowing experts to testify to a

“reasonable degree of wood science certainty” in product

liability case involving wooden ladders).

     One important caveat: during the testimony at the hearing,

the examiners testified to the effect that they could be 100

percent sure of a match.    Because an examiner’s bottom line

opinion as to an identification is largely a subjective one,

there is no reliable statistical or scientific methodology which

will currently permit the expert to testify that it is a “match”

to an absolute certainty, or to an arbitrary degree of

statistical certainty.    Allowing the firearms examiner to testify

to a reasonable degree of ballistic certainty permits the expert

to offer to her findings, but does not allow her to say more than

is currently justified by the prevailing methodology.         See Burke

v. Town of Walpole, 405 F.3d 66, 91 (1st Cir. 2005) (defining, in

context of bite mark identification, reasonable degree of

scientific certainty as “a showing that the injury was more



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likely than not caused by a particular stimulus, based on the

general consensus of recognized [scientific] thought”).          The lack

of absolute certainty on the part of the expert does not render

her opinion unreliable under Daubert.       See Baker, 156 F.3d at 253

(allowing medical causation testimony even if not certain);

United States v. McGlory, 968 F.2d 309, 346 (3d Cir. 1992)

(allowing handwriting expert to testify even if not “absolutely

certain”).    The opinion of a qualified firearms examiner who has

followed industry guidelines goes far beyond the type of

“unsupported speculation” barred by Daubert.        509 U.S. at 590.

     Another court in this district articulated similar concerns

in United States v. Green, No. 02-10301-NG, slip op. at 6 (D.

Mass. Dec. 20, 2001) (Gertner, J.).      If the firearms and toolmark

profession meets the challenge of Daubert and Kumho Tire by

developing a statistical methodology using better technology or

following a more objective methodology like CMS, testimony

quantifying the likelihood of a match may become reliable and

admissible.   See generally Schwartz, supra, at 4 (explaining the

need for adequate statistical empirical foundation to determine

“the likelihood that the toolmarks made by a randomly selected

tool of the same type would do as good a job as the toolmarks

made by the suspect tool at matching the characteristics of the

evidence toolmark[.]”).    As of the writing of this opinion,

however, such a standard is not prevailing in the field, and an



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expert may not assert any degree of statistical certainty, 100

percent or otherwise, as to a match.

C.   Qualifications

     Fed. R. Evid. 702 requires the judge to ensure that the

proposed expert witness is qualified by “knowledge, skill,

experience, training, or education.”       See also Poulis-Minott, 388

F.3d at 359 (“It is the responsibility of the trial judge to act

as gatekeeper and ensure that the expert is qualified before

admitting expert testimony.”).      “It is well-settled that ‘trial

judges have broad discretionary powers in determining the

qualification, and thus, admissibility, of expert witnesses.’”

Diefenbach v. Sheridan Transp., 229 F.3d 27, 30 (1st Cir. 2000)

(quoting Richmond Steel, Inc. v. Puerto Rico Am. Ins. Co., 954

F.2d 19, 20 (1st Cir. 1992)).

     Although Sgt. Weddleton has not yet attained a college

degree (he is still taking courses), education is not the sine

qua non of qualification as an expert witness.         See Fed. R. Evid.

702 advisory committee’s note (noting that the “text of Rule 702

expressly contemplates that an expert may be qualified on the

basis of experience”); McLaughlin, et al., supra, at

§ 702.04[1][a].    See also Poulis-Minott, 388 F.3d at 360

(affirming trial court’s allowing testimony from a fishing boat

captain as to the ability of a captain to respond to certain

emergencies under the circumstances).        Sgt. Weddleton does have


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significant training and experience as a firearm examiner.          A

former highway patrolman, Sgt. Weddleton was transferred to the

firearms identification unit in 1993.       He then underwent on-the-

job training by an experienced examiner in firearms

identification and attended various armorer schools.         (Daubert

Hr’g Tr. 33, Oct. 28, 2005.)     He has conducted hundreds of

examinations of firearms using a comparison microscope.          (Id. at

140.)

     To be sure, Sgt. Weddleton’s scientific and academic

credentials are underwhelming.     He apparently has no formal

scientific training, is neither certified by, nor is he a member

of any professional organizations, reads no literature in the

field, and had not undertaken any proficiency testing at the time

he performed the tests at issue in this case.        (Daubert Hr’g Tr.

33-35, Oct. 28, 2005.)    However, he has performed hundreds of

such examinations, and is, by the standard in the field,

qualified.   Furthermore, the government introduced evidence that

Sgt. Weddleton took a nationally administered proficiency test in

July 2005 and passed.    (Daubert Hr’g Tr. 95, Oct. 27, 2005.)

Although the American Society of Crime Laboratory Directors

(ASCLD) lists a bachelor’s degree with science courses as a

“desirable” qualification for firearm examiners, it does not list

it as “essential.”   American Society of Crime Laboratory




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Directors, Laboratory Accreditation Board Manual, 29 (1997) (Ex.

49).

D.   Documentation

       That Sgt. Weddleton is qualified, however, does not relieve

the government of its burden of proof that his methodology in

this particular case was reliable even if the general methodology

of toolmark identification passes muster under Daubert.

       Special Agent Curtis described the prevailing and

established standard of reliability in the field of toolmark

identification, with which Sgt. Weddleton’s examination must

comport.     See In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 745

(3d Cir. 1994) (explaining that “any step that renders the

analysis unreliable . . . renders the expert’s testimony

inadmissible.     This is true whether the step completely changes a

reliable methodology or merely misapplies that methodology.”);

Fed. R. Evid. 702 advisory committee’s note.           Sgt. Weddleton’s

examination falls short of the mark in two major areas:

documentation and peer review.

       With respect to documentation, Special Agent Curtis

indicated that the guidelines of the Association of Firearm and

Tool Mark Examiners require examiners to document identifications

by notes, sketches, or photographs.         (Daubert Hr’g Tr. 43-4,




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Sept. 16, 2005.)3

       Sgt. Weddleton did not make any sketches or take any

photographs, so the question is whether his notes provide

adequate documentation of the identification.           (Daubert Hr’g Tr.

65, 72, Oct. 28, 2005.)       The three reports of identifications in

this case, entered as Exhibits 38, 40, and 41, contain no

description of what led Sgt. Weddleton to his conclusions.

Indeed, all the reports indicate is that there was a “positive

ID.”       Even Sgt. Weddleton seems to acknowledge that current

standards would require more description of his examination than

he provided in this case.        (Daubert Hr’g Tr. 78, Oct. 28, 2005.)

       Until the basis for the identification is described in such

a way that the procedure performed by Sgt. Weddleton is

reproducible and verifiable, it is inadmissible under Rule 702.

E.   Review By a Second Qualified Examiner

       There is no evidence that Sgt. Weddleton had an independent

second examiner from his lab review his work or conclusions in

accordance with the generally accepted standard in the field.

(Daubert Hr’g Tr. 73, Oct. 28, 2005.)          This is particularly

important since Weddleton used replacement parts when test-firing



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      Although the AFTE guidelines to which Special Agent Curtis
referred were not offered into evidence, the Court accepts as
credible his testimony that the standard in the field is for the
examiner to document his or her findings through the use of
notes, sketches, or photographs.

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the FEG FP 9 firearm.     Until Sgt. Weddleton’s work has been peer

reviewed and his conclusions verified, his testimony is

inadmissible under Rule 702.

     The government has indicated its intention to have Sgt.

Weddleton’s work reviewed by additional expert witnesses prior to

trial and to have those experts testify at trial.          (Docket No.

1094.)     Review and verification of Sgt. Weddleton’s results by a

second qualified examiner, and proper documentation of the

results of both that review and Sgt. Weddleton’s original review,

will render Sgt. Weddleton’s testimony admissible under Rule 702.

F.   Replacement Parts

     Defendants have attacked specifically Sgt. Weddleton’s

identification of cartridge cases found near the scene of the

fatal shooting of Dinho Fernandes as coming from a 9 mm. FEG FP 9

Browning Hi-Power handgun.      Defendants allege that Sgt.

Weddleton’s identification is unreliable because he test fired

the firearm in question only after substantially reconstructing

it with replacement parts.      Among other parts, Sgt. Weddleton

replaced the firing pin, recoil spring, barrel, and trigger lever

(but, significantly, not the breech face) before test firing the

firearm.    After test firing the gun, Sgt. Weddleton compared the

spent cartridge cases with those found near the scene of the

Fernandes shooting and declared them a match.         Defendants argue

that the use of replacement parts, particularly the recoil


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spring, would so affect the marks transferred from the breech

face to the cartridge case as to make any identification

unreliable.   However, defense expert LaMagna used different

ammunition than Sgt. Weddleton, undermining his conclusions that

the use of a different recoil spring would substantially affect

the breech face markings.     Moreover, he used a new spring rather

than a used one.   Special Agent Curtis disagreed with Mr.

LaMagna’s analysis, contending that the replacement parts would

have no impact on the breech face marks transferred to the

cartridge casings in this case.      (Daubert Hr’g Tr. 61, Sept. 16,

2005.)   Curtis explained that the replaced recoil spring, a

primary cornerstone of the defendants’ argument, does not come

into play in the action of the firearm until after the breech

face is marked.

     Special Agent Curtis has substantially more specific

experience in the field than Mr. LaMagna, who, while trained in

engineering, had no training in ballistics other than a

correspondence course.    Curtis demonstrated that the replacement

parts should not make a significant difference in breech face

marks.   Extensive cross-examination of the government’s experts

and, if desired, testimony from the defense expert, will

highlight the alleged shortcomings of this procedure for the

jury.




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                                 ORDER

     Defendants’ motion in limine to exclude ballistics evidence

is ALLOWED without prejudice to supplementation by the government

(Docket No. 940).   The government must ensure that its proffered

firearms identification testimony comports with the established

standards in the field for peer review and documentation.          If the

expert opinion meets these standards, the expert may testify that

the cartridge cases were fired from a particular firearm to a

reasonable degree of ballistic certainty.       However, the expert

may not testify that there is a match to an exact statistical

certainty.

                                         /s/ Patti B. Saris



                                         PATTI B. SARIS
                                         United States District Judge




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